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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MARK C. SAVIGNAC, et al.,

              Plaintiffs,

        v.
                                                 Civil Action No. 19-2443 (RDM)
 JONES DAY, et al.,

              Defendants.




                                           ORDER

      For the reasons explained in the Court’s memorandum opinion, Dkt. 243, it is hereby

ORDERED that the Court will DENY Plaintiffs’ motion for summary judgment, Dkt. 203, and

will GRANT in part and DENY in part Defendants’ cross-motion for summary judgment, Dkt.

189. The Court will GRANT summary judgment to Defendants on Claims 4-6 and Claims 12-14

and will DENY Defendants’ motion for summary judgment on all other claims.

        SO ORDERED.


                                                   /s/ Randolph D. Moss
                                                   RANDOLPH D. MOSS
                                                   United States District Judge


 Date: October 2, 2024
